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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION
IN RE:

Vernita Morris
CASE NO.: 6:24-bk-05516-LVV
Debtor.

CHAPTER 13 PLAN

A. NOTICES.

Debtor' must check one box on each line to state whether or not the Plan includes each of
the following items. If an item is checked as “Not Included,” if both boxes are checked, or if
neither box is checked, the provision will be ineffective if set out later in the Plan.

A limit on the amount of a secured claim based on a valuation which | Included
may result in a partial payment or no payment at all to the secured y
creditor. See Sections C.5(d) and (e). A separate motion will be filed.

Not Included

Avoidance of a judicial lien or nonpossessory, nonpurchase money | Included
security interest under 11 U.S.C. § 522(f). A separate motion will be ¥
filed. See Section C.5(e).

Not Included

Nonstandard provisions, set out in Section E. Included | Not renetes
Provisions for student loan(s), set out in Section E. Included aoe
Nonstandard Provisions, set out in Section E. Included Nee Included
THIS AMENDED PLAN PROVIDES FOR PAYMENT TO} Included Not Included

CREDITOR/LESSOR, [NAME OF SECURED CREDITOR/LESSOR]
TO BE INCLUDED IN PLAN PAYMENTS; THE AUTOMATIC X
STAY IS REINSTATED AS TO THIS CREDITOR.

NOTICE TO DEBTOR: IF YOU ELECT TO MAKE DIRECT PAYMENTS TO A SECURED
CREDITOR UNDER SECTION C.5(i) OF THIS PLAN, TO SURRENDER THE SECURED
CREDITOR’S COLLATERAL UNDER SECTION C.5(j), TO NOT MAKE PAYMENTS TO THE
SECURED CREDITOR UNDER SECTION C.5(k), OR IF PAYMENTS TO A SECURED
CREDITOR ARE NOT SPECIFICALLY INCLUDED IN THE PLAN PAYMENTS, THE
AUTOMATIC STAY DOES NOT APPLY AND THE CREDITOR MAY TAKE ACTION TO
FORECLOSE OR REPOSSESS THE COLLATERAL.

SECURED CREDITORS INCLUDE THE HOLDERS OF MORTGAGE LOANS, CAR LOANS,
AND OTHER LOANS FOR WHICH THE SECURED CREDITOR HAS A SECURITY
INTEREST IN PERSONAL OR REAL PROPERTY COLLATERAL,

1 All references to “Debtor” include and refer to both of the debtors in a case filed jointly by two
individuals.

Effective December 4, 2023
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MONTHLY PLAN PAYMENTS. Plan payments include the Trustee’s fee of 10% and
shall begin 30 days from petition filing/conversion date. Debtor shall make payments to
the Trustee for the period of 60 months. If the Trustee does not retain the full 10%, any
portion not retained will be disbursed to allowed claims receiving payments under the
Pian and may cause an increased distribution to the unsecured class of creditors.

$2,170.00 from month 1 through 60.
$ from month through

PROPOSED DISTRIBUTIONS.

1. ADMINISTRATIVE ATTORNEY’S FEES.

Base Fee $5,000.00 Total Paid Prepetition $3,000.00 Balance Due $2,000.00
MMM Fee $ Total Paid Prepetition $ Balance Due $

Estimated Monitoring Fee at $ per Month.

Attorney’s Fees Payable Through Plan at SEE SPREADSHEET Monthly (subject
to adjustment).

2. DOMESTIC SUPPORT OBLIGATIONS (as defined in 11 U.S.C. §101(14A).

Acct. No. Creditor Total Claim Amount

3. PRIORITY CLAIMS (as defined in 11 U.S.C. § 507).

Last Four Digits of Acct. | Creditor Total Claim Amount

No.

4,

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TRUSTEE FEES. From each payment received from Debtor, the Trustee shall

receive a fee, the percentage of which is fixed periodically by the United States Trustee,

5.

SECURED CLAIMS, Pre-confirmation payments allocated to secured creditors

under the Plan, other than amounts allocated to cure arrearages, shall be deemed adequate
protection payments. The Trustee shall disburse adequate protection payments to secured
creditors prior to confirmation, as soon as practicable, if the Plan provides for payment to the

secured

creditor, the secured creditor has filed a proof of claim or Debtor or Trustee has filed a

proof of claim for the secured creditor under 11 U.S.C. § 501(c), and no objection to the claim
is pending. If Debtor’s payments under the Plan are timely paid, payments to secured creditors
under the Plan shall be deemed contractually paid on time.

(a) Claims Secured by Debtor’s Principal Residence Which Debtor Intends to

Retain - Mortgage, HOA and Condo Association Payments, and Arrears, if any,
Paid Through the Plan Under 11 U.S.C. § 1322(b)(5). Debtor will cure prepetition
atrearages and maintain monthly postpetition payments on the following claims secured
by Debtor's principal residence. Postpetition mortgage payments must be included in the
Plan Payments. Mortgage payments are due on the first payment due date after the case is
filed and continue monthly thereafter. The amount of postpetition mortgage payments
may be adjusted as provided for under the loan documents. The Plan may provide for the
cure of arrearages to homeowner's and condominium associations and may, but need not,
include the payment of postpetiton assessments in the Plan Payments. Under 11 U.S.C. §
1328(a)(1), Debtor will not receive a discharge of personal liability on these claims.

Last Four Creditor Collateral Regular Gap Arrears
Digits of Address Monthly Payment
Acet. No. Payment

(b) Claims Secured by Other Real Property Which Debtor Intends to Retain -
Mortgage Payments, HOA and Condo Association Payments, and Arrears, if any, Paid
Through the Plan. Debtor will cure prepetition arrearages and maintain monthly postpetition
payments on the following claims secured by real property. Postpetition mortgage payments
must be included in the Plan Payments. Mortgage payments are due on the first payment due
date after the case is filed and continue monthly thereafter. The amount of postpetition
mortgage payments may be adjusted as provided for under the loan documents. The Plan may
provide for the cure of arrearages to homeowner's and condominium associations and may,
but need not, include the payment of postpetiton assessments in the Plan Payments. Under 11
U.S.C. § 1328(a)(1), Debtor will not receive a discharge of personal liability on these claims.

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Last Four Creditor Collateral Regular Gap Arrears
Digits of Address Monthly Payment
Acct. No. Payment

(c) Claims Secured by Real Property - Debtor Intends to Seek Mortgage

Modification. Pending the resolution of a mortgage modification request, the Plan
Payments shall include the following adequate protection payments to the Trustee: (1)
for homestead property, the lesser of 31% of gross monthly income of Debtor and non-
filing spouse, if any (after deducting homeowners association fees), or the normal
monthly contractual mortgage payment; or (2) for non-homestead, income-producing
property, 75% of the gross rental income generated from the property. Notwithstanding
the foregoing, the adequate protection payment must be no less than the amount sufficient
to pay (1) homeowner’s association fees, and (2) 1/12 of the annual ad valorem property
taxes and annual homeowner's insurance premium. If Debtor obtains a modification of
the mortgage, the modified payments must be included in the Plan Payments. Debior will
not receive a discharge of personal lability on these claims.

Last Four Digits of | Creditor Collateral Address | Adequate
Acct. No. Protection Payment
5496 SLS/Shellpoint 16760 Cedar Crest}$1,700.00
Drive, Orlando, FI.|(Contractual)
32828
(d) Claims Secured by Real Property or Personal Property to Which Section 11

U.S.C. § 506 Valuation APPLIES (Strip Down). Under 11 U.S.C. § 1322(b)(2), this
provision does not apply to a claim secured solely by Debtor’s principal residence. A
separate motion to determine secured status or to value the collateral must be filed.
Payment on the secured portion of the claim, estimated below, is included in the Plan
Payments. Unless otherwise stated in Section E, the Plan Payments do not include
payments for escrowed property taxes or insurance.

Last Four | Creditor Collateral | Claim Value Payment Intere
Digits of Description | Amount Through st Rate
Acct. No. / Plan

Address

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(e)

or under 11 U.S.C.§ 506 to determine secured status and to strip a lien.

Liens to be Avoided Under 11 U.S.C, § 522 or Stripped Off Under 11 U.S.C.
§ 506. Debtor must file a separate motion under 11 U.S.C. § 522 to avoid a judicial lien
or a nonpossessory, nonpurchase money security interest because it impairs an exemption

Last Four Digits of Acct. Creditor Collateral Description /
No. Address
(f) Payments on Claims Secured by Real Property and/or Personal Property to

Which Section 11 U.S.C. § 506 Valuation DOES NOT APPLY Under the Final Paragraph
in 11 U.S.C. § 1325(a). The claims listed below were either: (1) incurred within 910 days before
the petition date and secured by a purchase money security interest in a motor vehicle acquired
for the personal use of Debtor; or (2) incurred within one year of the petition date and secured by
a purchase money security interest in any other thing of value. These claims will be paid in full
under the Plan with interest at the rate stated below.

Last Four Creditor Collateral Claim Payment Interest
Digits of Description/ | Amount Through Rate
Acct. No. Address Plan

(g) Claims Secured by Real or Personal Property to be Paid with Interest

Through the Plan under 11 U.S.C. § 1322(b)(2) and § 1322(c)(2) (for claims secured *

by Debtor’s principal residence that mature during the Plan). The following secured
claims will be paid in full under the Plan with interest at the rate stated below.

Last Four Creditor Collateral Claim Payment Interest
Digits of Description/ | Amount Through Rate
Acct. No. Address Plan

(bh) Claims Secured by Personal Property — Maintaining Regular Payments and

Curing Arrearage, if any, Under 11 U.S.C. § 1325(b)(5). Under 11 U.S.C. § 1328(a)
(1), unless the principal amount of the claim is paid in full through the Plan, Debtor will
not receive a discharge of personal liability on these claims.

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Last Four Creditor Collateral Regular Arrearage
Digits of Acct. Description Contractual
No. Payment

(i) Secured Claims Paid Directly by Debtor. The following secured claims are

being made via automatic debit/draft from Debtor’s depository account and will continue to be
paid directly to the creditor or lessor by Debtor outside the Plan via automatic debit/draft. The
automatic stay under 11 U.S.C. § § 362(a) and 1301(a) is terminated in rem as to Debtor and in
rem and in personam as to any codebtor as to these creditors and lessors upon the filing of this
Plan. Nothing herein is intended to terminate or abrogate Debtor’s state law contract rights.
Because these secured claims are not provided for under the Plan, under 11 U.S.C. § 1328(a),
Debtor will not receive a discharge of personal liability on these claims.

Last Four Digits of Acct. Creditor Property/Collateral
No.
5753 Navy Federal Credit Union Automobile

(i) Surrender of Collateral/Property that Secures a Claim. Debtor will surrender the
following collateral/property. The automatic stay under 11 U.S.C. §§ 362(a) and 1301{a)
is terminated in rem as to Debtor and in rem and in personam as to any codebtor as to
these creditors upon the filing of this Plan.

No.

Last Four Digits of Acct. Creditor Collateral/Property

Description/Address

(k) Secured Claims that Debtor Does Not Intend to Pay. Debtor does not intend to
make payments to the following secured creditors. The automatic stay under 11 U.S.C.
§§ 362(a) and 1301 (a) is terminated in rem as to Debtor and in rem and in personam as to
any codebtor with respect to these creditors upon the filing of this Plan. Debtor’s state
law contract rights and defenses are neither terminated nor abrogated. Because these
secured claims are not provided for under the Plan, under 11 U.S.C. § 1328(a), Debtor
will not receive a discharge of personal liability on these claims.

No.

Last Four Digits of Acct. Creditor Collateral

Description/Address

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6. LEASES / EXECUTORY CONTRACTS, As and for adequate protection, the

Trustee shall disburse payments to creditors under leases or executory contracts prior to
confirmation, as soon as practicable, if the Plan provides for payment to creditor/lessor, the
creditor/lessor has filed a proof of claim or Debtor or Trustee has filed a proof of claim for the
secured creditor/lessor under § 501(c), and no objection to the claim is pending. If Debtor’s
payments under the Plan are timely paid, payments to creditors/lessors under the Plan shall be
deemed contractually paid on time.

(a) Assumption of Leases/Executory Contracts for Real or Personal Property to
be Paid and Arrearages Cured Through the Plan. Debtor assumes the following
leases/executory contracts and proposes the prompt cure of any prepetition arrearage as
follows. If the claim of the lessor/creditor is not paid in full through the Plan, under 11
U.S.C. § 1328(a)(1), Debtor will not receive a discharge of these claims.

Last Four Creditor/Lessor | Description of | Regular Arrearage and
Digits of Acct. Leased Contractual Proposed Cure
No. Property Payment

(b) Assumption of Leases/Executory Contracts for Real or Personal Property to
be Paid Directly by Debtor. Debtor assumes the following lease/executory contract
claims that are paid via automatic debit/draft from Debtor’s depository account and are to
continue to be paid directly to the creditor or lessor by Debtor outside the Plan via
automatic debit/draft. The automatic stay is terminated in rem as to Debtor and in rem
and in personam as to any codebtor as to these creditors and lessors upon the filing of this
Plan. Nothing herein is intended to terminate or abrogate Debtor's state law contract
rights. Because these secured claims are not provided for under the Plan, under 11 U.S.C.
§ 1328(a), Debtor will not receive a discharge of personal liability on these claims.

Last Four Digits of Acct. Creditor/Lessor Property/Collateral

No.

(c) Rejection of Leases/Executory Contracts and Surrender of Real or Personal
Leased Property. Debtor rejects the following leases/executory contracts and will
surrender the following leased real or personal property. The automatic stay is terminated
in rem as to Debtor and in rem and in personam as to any codebtor as to these creditors
and lessors upon the filing of this Plan.

Last Four Digits of Acct. Creditor/Lessor Property/Collateral

No.

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7. GENERAL UNSECURED CREDITORS, General unsecured creditors with
allowed claims shall receive a pro rata share of the balance of any funds remaining after
payments to the above referenced creditors or shall otherwise be paid under a subsequent Order
Confirming Plan. The estimated dividend to unsecured creditors shall be no less than $13,180.00.

D. GENERAL PLAN PROVISIONS:

1. Secured creditors, whether or not dealt with under the Plan, shall retain the Liens
securing such claims.

2. Payments made to any creditor shall be based upon the amount set forth in the
creditor’s proof of claim or other amount as allowed by an Order of the Court.

3. If Debtor fails to check (a) or (b) below, or if Debtor checks both (a) and (b),
property of the estate shall not vest in Debtor until the earlier of Debtor’s
discharge or dismissal of this case, unless the Court orders otherwise. Property of
the estate

(a) shall not vest in Debtor until the earlier of Debtor’s discharge or
dismissal of this case, unless the Court orders otherwise, or

(b) X shall vest in Debtor upon confirmation of the Plan.

4. The amounts listed for claims in this Plan are based upon Debtor’s best estimate
and belief and/or the proofs of claim as filed and allowed. Unless otherwise
| ordered by the Court, the Trustee shall only pay creditors with filed and allowed
proofs of claim. An allowed proof of claim will control, unless the Court orders
otherwise.

5. Debtor may attach a summary or spreadsheet to provide an estimate of anticipated
distributions. The actual distributions may vary. If the summary or spreadsheet
conflicts with this Plan, the provisions of the Plan control prior to confirmation,
after which time the Order Confirming Plan shall control.

6. Debtor shall timely file all tax returns and make all tax payments and deposits
when due. (However, if Debtor is not required to file tax returns, Debtor shall
provide the Trustee with a statement to that effect.) For each tax return that
becomes due after the case is filed, Debtor shall provide a complete copy of the
tax return, including business returns if Debtor owns a business, together with all
related W-2s and Form 1099s, to the Trustee within 14 days of filing the return.
Unless otherwise ordered, consented to by the Trustee, or ordered by the Court,
Debtor shall turn over to the Trustee all tax refunds in addition to regular Plan
payments. Debtor shall not instruct the Internal Revenue Service or other taxing
agency to apply a refund to the following year’s tax liability. Debtor shall not
spend any tax refund without first having obtained the Trustee’s consent or

| Court approval.
|

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E. NONSTANDARD PROVISIONS as Defined in Federal Rule of Bankruptcy
Procedure 3015(c}. Note: Any nonstandard provisions of this Plan other than those set
out in this section are deemed void and are stricken,

CERTIFICATION

By filing this document, the Attorney for Debtor, or Debtor, if not represented by an
attorney, certifies that the wording and order of the provisions in this Chapter 13 Plan are
identical to those contained in the Model Plan adopted by this Court, and that this Plan
contains no additional or deleted wording or nonstandard provisions other than any
nonstandard provisions included in Section E.

SIGNATURE(S):

Debtor(s)

/s/ Vernita Morris 11/01/2024
Date

Date

Attorney for Debtor(s)

/s/ Ronnald Mejia 11/01/2024
Date

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DUE DATE BUE DATE 24-05516-LLV
12TH 11/12/2024 MORRIS 10.0% $2,000.00 SLS/
Unsecured Debtor Pmi| Tee Fee! ATTY SHELLPOINT NAVY FCU
60 60
11/12/2024) 1 $3.00 $2,170.00, $217.00 $250.00 1,700.00) 1| at PD OS
12/12/2024| 2 $3.00 $2,170.00) $217.00 $250.00 1,700.00
1/12/2025) 3 $3.00 $2,170.00] $217.00 $250.00 1,700.00
2fi2/2025{ 4 $3.00 $2,170.00] $217.00 $250.00 1,700.00
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4/12/2025] & $3.00 $2,170.00] $217.00 $250.00 1,700.00
§12/2025| 7 $3.00 $2,170.00) $217.00 $250.00 1,700.00
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4/12/2026 15 $253,00 $2,170.00] $217.00 1,700.00
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5/12/2026] 19) $253.00 $2,176.00} $217.00 1,700.00
6/12/2026] 20 $253.00 $2,170.00] $217.00 1,700.00
7/12/2026] 21 $253.00 $2,170,000} $217.00 1,700.00
8/12/2026] 22) $253.00 $2,170.00) $217.00 1,700.00
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5/12/2027] 34 $253.00 $2,170.00| $217.00 1,700.00.
6/12/2027] 32 $253.00 $2,170.00] $217.00 1,700.00
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12/1 2/2027| 38, $253.00 $2,170.00) $217.00 1,700.00
1/12/2028] 39 $253.00 $2,170.00] $217.00 1,700.00
2/12/2028] 40 $253.00 $2,170.00] $217.00 1,700.00
3/12/2028] 41 $253.00 $2,170.00} $217.00 1,700.00
4/12/2028] 42 $253.00 $2,170.00; $217.00 1,700.00
5/12/2028] 43) $253.00 $2,170.00} $217.00 1,700,00
6/12/2028] 44) $253.00 $2,170.00} $217.00 1,700.00
7/12/2028] 45) $253.00 $2,170.00] $217.00 1,700.00
8/12/2028] 46 $253.00 $2,170.00] $217.00 1,700,090
9/12/2028] 47 $253.00 $2,170.00} $217.00 1,700.00
10/12/2028] 48 $253.00 $2,170.00] $217.00 1,700.00
11/12/2028] 49 $253.00 $2,170.00] $217.00 1,700.00
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10/12/2029| 60 $253.00 | 60) at! $2,170.00} $217.00 60} at! 1,700.00
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| $286,316.00 ATTY CLM CLM
5% Pd at contract Automobile
16760 Cedar Crest

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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA

ORLANDO DIVISION
In re:
Vernita Morris Case No. 6:24-bk-05516-LVV
Chapter 13
Debtor.
{
CERTIFICATE OF SERVICE

I certify that I have served the following parties with a copy of the foregoing
“Chapter 13 Plan” by electronic mail via CM/ECF pursuant to Local Rule 7005-3 and/or
by placing true copies of same in the United States Mail with adequate postage affixed to
insure delivery as addressed below and/or on the attached matrix:

Laurie K. Weatherford

PO Box 3450 Vernita Morris
Winter Park, FL 32790 2055 Spruce Avenue

West Palm Beach, FL 33407
United States Trustee
400 West Washington St. And the attached matrix
Suite 1100

Orlando, FL 32801

Dated: 11/01/2024

/s/ Ronnald Mejia
Ronnald Mejia

FL Bar #0177539
Ronnald Mejia, P.A.
1060 Woodcock Road
Orlando, FL 32803
Tel: 407-403-6479
Fax: 407-720-4642

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Label Matrix for local noticing
Li3A-6

Case 6:24-bk-05516-10V

Middle District of Florida
Orlando

Fri Nov 4 15:21:19 EDT 2024

Capital One

Attn: Bankruptcy

PO Box 30285

Salt Lake City, UT 84130-0285

Discover Financial

Attn: Bankruptcy

FO Box 3025

New Albany, OH 43054~3025

NAVY FCU

Attn: Bankruptcy

PO Box 3000

Merrifield, VA 22119-3000

Newrez LLC d/b/a Shellpoint Mortgage Servici
c/o ROBERTSON, ANSCHUTZ, SCHNEID,

CRANE & PARTNERS, PLLC

13010 MORRIS ROAD, SUITE. 450

ALPHARETTA, GA 30004-2001

Specialized Loan Servicing LLC
Attn: Bankruptcy

P.O, Box 630147

Littleton, CO 80163-0147

{p)UPLIET INC
2 N CENTRAL AVE FL 10
PHOENIX AZ 85004-2322

Vernita Morris
2055 Spruce Avenue
West Palm Beach, FL 33407-6333

NewRez LLC d/b/a Shellpoint Mortgage Servici
Robertson, Anschutz, Schneid, Crane & Pa
13010 Morris Road., Suite 450

Alpharetta, GA 30004-2001

Credit One Bank

Attn: Bankruptcy Department
6801 Cimarron Rd

Las Vegas, NV 89113-2273

Florida Department of Revenue
Bankruptcy Unit

Post Office Box 6668
Tallahassee FL 32314-6668

Navient

Attn: Bankruptcy

PO Box 9635

Wilkes Barre, PA 18773-9635

Grange County Tax Collector
PO Box 545100
Orlando FL 32854-5100

Synchrony Bank/Sams
Attn: Bankruptcy

PO Box 965060

Orlando, Fh 32896-5060

Laurie K Weatherford
Post Office Box 3450
Winter Park, FL 32790-3450

United States Trustee - ORL7/13 7
Office of the United States Trustee
George C Young Federal Building

400 West Washington Street, Suite 1100
Orlando, Fi 32801-2210

Discover Bank
PO Box 3025
New Albany, OH 43054-3025

Internal Revenue Service
Post Office Box 7346
Philadelphia PA 19101-7346

Navy Federal Credit Union
Attn: Bankruptcy

PO Box 3000

Merrifield, VA 22119-3000

Robertson, Anschutz &
Schneid, PL

6409 Congress Avenue
Suite 100

Boca Raton, FL 33487-2853

Synchrony/PayPal Credit
Attn: Bankruptcy

PO Box 965064

Orlando, FL 32896-5064

Ronnald R Mejia
Ronnald Mejia, ?.A,
1060 Woodcock Read
Orlando, FL 32803-3502

The preferred mailing address (p} above has been substituted for the following entity/entities as so specified
by said entity/entities in a Notice of Address filed pursuant to 11 0,S.C. 342(f) and Fed.R.Bank.P, 2002 (g) (4}.

Uplit/eb

Attn: Bankruptcy
440 N. Wolfe Read
Sunnyvale, CA 94085

End of Label Matrix

Mailable recipients 21
Bypassed recipients 0
Total al

